AO 106 (Rev, 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter of the Search of
Information Associated with Cellular
Telephone Assigned Call Number (202)
981-0442, That Is Stored at Premises
Controlled by T-Mobile, USA

Case No. lam) \ 2

APPLICATION FOR A SEARCH WARRANT
4 Sylvan Way, Parsippany, NJ 07054
I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location);

 

 

See Attachment A
located in the : District of New Jersey , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B

The basis for the search under Fed. R. Crim. P. 41(C) is (check one or more):
of evidence of a crime;

©) contraband, fruits of crime, or other items illegally possessed;
C1 property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 USC 1951 Hobbs Act

18 USC 924(m) Theft of Firearms from a Licensed Dealer

The application is based on these facts:
See Attached Affidavit

wm Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: __ ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

AN Mwavr 2

Applicant's signature

Michael B. Newsome, Special Agent, ATF

Printed name and title

Sworn to before me and signed in my presence.

Judge's signature

 

City and state: Greensboro, North Carolina L. Patrick Auld, U.S. Magistrate Judge

Printed name and title

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ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with a certain cellular
telephone assigned call number (202) 981-0442, that is stored at premises owned,
maintained, controlled, or operated by T-Mobile, USA, a wireless telephone service

provider, headquartered at 4 Sylvan Way, Parsippany, New J ersey, 07054.

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ATTACHMENT B

 

Particular Things to be Seized

I. Information to be disclosed by T-Mobile, USA

To the extent that the information described in Attachment A is within the
possession, custody, or control of T-Mobile, including any information that has been
deleted but is still available to T-Mobile or that has been preserved pursuant to a
request made under 18 U.S.C. § 2703(f), T-Mobile is required to disclose to the
government the following information pertaining to a certain cellular telephone
assigned call number (202) 981-0442, as more fully described in Attachment A, for
the time period September 1, 2018 through December 1, 2018 except as otherwise
stated below:

1. Specialized Location Records: Al]] call, text and data connection
location information, related to all specialized carrier records which may
be referred to as TDOA or Timing Advance Information, Mediation
Records, E9-1-1, and/or Historical GPS/Mobile Locate Information
which shows GPS location (longitude and latitude) and Cell-Site and
sector of the device in relationship to the network when connected to the
network for the cellular telephone number referenced above between
October 22, 2018 and November 18, 2018;

2 Call/Text/Data Detail Records: All records associated with the above
referenced cellular telephone number, to include all numbers that

communicate with the above listed cellular telephone number relating

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to all delivered and undelivered inbound and outbound calls, text
messages, and text message content to the above listed cellular
telephone number, all voice mail, and all data connections, and to
include Cell-site and sector, date, time, direction, duration, number
called or text to and/or received from, and bytes up/down, information
related to each call, text or data connection, all text message content,
and voicemails, as well as Call to Destination/Dialed Digits search for
the above listed cellular telephone number. Please preserve all cell-site
and sector information related to each call, text or data connections;

Electronically Stored Records: All records associated with the above
referenced cellular telephone number, to include all stored
communication or files, including voice mail, text messages, including
numbers text to and received from and all related content, e-mail, digital
images (e.g., pictures), contact lists, video calling, web activity (name of
web site or application visited or accessed), domain accessed, data
connections (to include Internet Service Providers (“ISPs”), Internet
Protocol (“IP”) addresses, IP Session data, IP Destination Data,
bookmarks, data sessions, name of web sites and/or applications
accessed), date and time when all web sites, applications, and/or third
party applications were accessed and the duration of each web site,
application, and/or third party application was accessed, and any other

files including all cell site and sector information associated with each

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connection and/or record associated with the above listed cellular
telephone number;

Carrier Key related to call detail, text messages, data connections, IP
logs, IP Sessions, web site and/or application connections, and cell site
information;

Cloud Storage: Content stored in remote storage or ‘cloud accounts’
associated with the above listed cellular telephone number including,
but not limited to, contacts, call logs, SMS and MMS messages with
associated content including audio, video, and image files, digital images
and videos, and files or documents;

Cell Site List(s): List of all cell-sites for all state (s) in which the above
records used cell locations. Cell site lists to include switch, cell-site
number, name, physical address, longitude and latitude, all sectors
associated with each cell-site, azimuth, and beam-width of each related
sector;

Subscriber Records:

a. Names (including subscriber names, user names, and screen
names);
b. Addresses (including mailing addresses, residential addresses,

business addresses, and e-mail addresses);

C. Local and long distance telephone connection records;
d. Records of session times and durations, and the temporarily
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assigned network addresses (such as Internet Protocol CIP”)

addresses) associated with those sessions;

e. Length of service (including start date) and types of service
utilized;
f. Telephone or instrument numbers (including MAC addresses,

Electronic Serial Numbers (“ESN”), Mobile Electronic Identity

Numbers (“MEIN”), Mobile Equipment Identifier (“MEID”);
Mobile Identification Number (“MIN”), Subscriber Identity
Modules (“SIM”), Mobile Subscriber Integrated Services Digital
Network Number (“MSISDN”); iiemetinal Mobile Subscriber
Identity Identifiers (“IMSI’), or International Mobile Equipment
Identities (“IMEI”);

g, Other subscriber numbers or identities (including the registration
Internet Protocol (“IP”) address); and

h. Means and source of payment for such service (including any
credit card or bank account number) and billing records.

Any other records and other evidence relating to the above listed cellular

telephone number. Such records and other evidence include

correspondence and other records of contact by any person or entity

about the above listed cellular telephone number, the content and

connection logs associated with or relating to postings, communications

and any other activities to or through the above listed cellular telephone

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number, whether such records or other evidence are in electronic or
other form.
II. Information to be Seized by the Government
All information described above in Section I that constitutes evidence of
violations of Title 18 U.S.C. § 1951 (Hobbs Act) and Title 18 U.S.C. § 924(m) (Theft of
Firearms from a Licensed Dealer) involving RAQUAN JOHN ZIMMERMAN and/or
DAWAN RASHAWN SALTERS, and Metro PCS number (202) 981-0442 during the
period between September 1, 2018 to December 1, 2018 except as otherwise stated
below:
1. Historical precision location information that provides historical geographic
location of the user’s mobile device from October 22, 2018 through November
18, 2018;
2, Any communication referencing the theft of firearms;
3. Any communication referencing armed robberies;
4. Any communication referencing firearms trafficking;
5. Any communication referencing gun dealers;
6. Any communication referencing preparatory steps taken in furtherance of the
scheme;
7. Communication between Raquan ZIMMERMAN, Dawan SALTERS, and
others, who may be involved in the scheme and/or related crimes;
8. Records relating to who created, used, or communicated with the account

holder from October 22, 2018 through November 18, 2018;

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of the Search of:

Information Associated with Cellular

Telephone Assigned Call Number (202)

981-0442, That Is Stored at Premises Case No. | ti a Ws eC
Controlled by T-Mobile, USA

4 Sylvan Way, Parsippany, NJ 07054

 

 

AFFIDAVIT IN SUPPORT OF A
SEARCH AND SEIZURE WARRANT

I, Michael B. Newsome, being first duly sworn, hereby depose and state as

follows:
INTRODUCTION AND AGENT BACKGROUND

i I make this affidavit in support of an application for a search warrant
for information associated with a certain cellular telephone assigned call number
(202) 981-0442, that is stored at premises owned, maintained, controlled, or operated
by T-Mobile, USA, hereinafter referred to as “T-Mobile”, a wireless telephone service
provider, headquartered at 4 Sylvan Way, Parsippany, New Jersey, 07054. The
information to be searched is described in the following paragraphs and in
Attachment A. This affidavit is made in support of an application for a search
warrant under 18 U.S.C. §§ 2703(b)(1)(A) and 2703(c)(1)(A) to require T-Mobile to
disclose to the government copies of the information further described in Section I of
Attachment B. Upon receipt of the information described in Section I of Attachment
B, government-authorized persons will review the information to locate items

described in Section II of Attachment B.

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2. Tam a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (“ATF”) and have been so employed since May 2017. Lama graduate of
the Federal Law Enforcement Training Center (“FLETC”) Criminal Investigator
Training Program, as well as the ATF National Academy, where I received extensive
training in the investigation of firearms, controlled substances, arson, and explosives
offenses. I have participated in investigations involving all of these areas. Prior to
my career with ATF, I worked for the Rocky Mount Police Department in North
Carolina for approximately nine and a half years. During my tenure with the Rocky
Mount Police Department, I served as a duly sworn Task Force Officer with ATF from
2014 — 2017. During my career in law enforcement, I have conducted numerous
complex case investigations involving federal and state firearms and controlled
substance violations. I have also had the opportunity to work in an undercover
capacity on multiple occasions to make controlled purchases of firearms and
controlled substances. Prior to my career in law enforcement, I attended North
Carolina State University and graduated in 2007 with a Bachelor of Arts Degree in
Criminology.

as The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and witnesses.
This affidavit is intended to show only that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

4. Based on my training and experience and the facts as set forth herein,

there is probable cause to believe that violations of Title 18, United States Code

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(U.S.C.) § 1951 (Hobbs Act) and Title 18, U.S.C. § 924(m) (Theft of Firearms from a
Licensed Dealer) have been committed by RAQUAN JOHN ZIMMERMAN and
DAWAN RASHWAWN SALTERS. There is also probable cause to search the
information described in Attached A for evidence of these crimes further described in
Attachment B.
JURISDICTION

5. This Court has jurisdiction to issue the requested warrant because it is
“a court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§
2703(b)(1)(A) & (c)(1)(A). Specifically, the Court is “a district court of the United
States ...that has jurisdiction over the offense being investigated.” 18 U.S.C. §
2711(8)(A)(i).

PROBABLE CAUSE

6. On November 5, 2018 at approximately 2:36 p.m., the Greensboro Police
Department responded to a robbery in progress at the Quick Cash Pawn located at
2707 S. Elm-Eugene St. Greensboro, NC. The call was in response to a panic alarm
that had been activated by one of the employees inside of the business. Officers
arrived on scene and made contact with three employees who were working at the
time the robbery occurred. No patrons were inside of the store or victimized by this
robbery. Employees stated that at approximately 1:55 p.m. two black males in their
early 20’s entered the pawn shop and requested to see some handguns. One of the
black males produced a Washington, D.C. identification card, per store policy, in order

to physically handle the firearms. The sale’s associate could not remember any other

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details about the identification card, only that it was from Washington, D.C. The
black male inquired about purchasing one of the firearms. The sales associate
informed him that he would need a North Carolina identification card in order to
purchase a firearm. Both black males left the business at that time.

iG The two black males returned to the pawn shop at approximately 2:30
p.m. While one of the black males began speaking to a sales associate, the second
black male produced a handgun from a bag that he was wearing across his chest. The
employees described the firearm as either a Tec-9 or Mac-10 style handgun. The
suspects demanded that the store manager unlock the glass display case where
handguns were kept. The suspects began to remove firearms from the display case
and place them into the bag that was carried by one of the suspects. They also
demanded all of the AK-47 magazines that were hanging on a wall rack behind the
counter. Before leaving, the suspects stole approximately $1,800.00 in currency from
the cash register and took two of the employees’ cell phones. The employees were told
to lie down on the ground as the suspects exited the business.

8. An inventory by ATF Industry Operation Investigators revealed that the
suspects stole twenty-one (21) handguns and two (2) pistol grip shotguns from the
business. All of these firearms were entered into the National Crime Information
Center (NCIC) as stolen. At the time of this affidavit, none of these firearms have
been recovered by law enforcement.

g, Quick Cash Pawn is a Federal Firearms Licensee (FFL) who conducts

business with firearms dealers located outside of the state of North Carolina. Based

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upon my training and experience as an Interstate Nexus Examiner, I am able to
determine by examination of the list of stolen firearms that most, if not all, of these
firearms were manufactured outside of the state of North Carolina. Therefore, I
believe that the armed robbery of Quick Cash Pawn affected interstate and/or foreign
commerce.

10. On March 20, 2019, I received a phone call from ATF Special Agent (SA)
Matt Leonard who is assigned to the Hyattsville, Maryland Field Office. SA Leonard
advised that he had just conducted a proffer interview with an individual named
Christopher Tyler. SA Leonard advised that Tyler is out of custody while waiting to
be sentenced on a case being prosecuted by Prince George County, Maryland. SA
Leonard stated that during this proffer, Tyler had provided information on a robbery
of a gun dealer in North Carolina.

11. SA Leonard stated that Tyler had identified two individuals who were
responsible for this robbery. Tyler identified these individuals by their street names,
“Ray” and “Wan”. Tyler also provided Instagram names for both individuals. Tyler
identified Ray’s Instagram name as “ray_dawgg” and Wan’s Instagram name as

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“dbwanoo_”. Tyler advised that he had become acquainted with these individuals
while hanging out at a local strip club called The Ebony Inn in Fairmount Heights,
Maryland. Tyler was also able to provide information on other associates of Ray and
Wan, as well as places that they frequent. Tyler has been shown photographs from

the aforementioned Instagram accounts to confirm that they are the individuals

whom he was referring to.

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12. SA Leonard advised that Tyler knew the FFL robbery occurred
sometime around late October and the beginning of November 2018 in North
Carolina, but was unsure of the exact location. Tyler advised that Ray and Wan had
confessed to him that they committed this robbery. Specifically, Tyler told SA
Leonard that Ray and Wan had confessed to stealing approximately twenty-five (25)
firearms from the FFL and had forced the employees to lie down on the ground. Tyler
stated that Ray and Wan had sold the firearms in Maryland after committing the
robbery. Tyler stated that the firearms were sold in November 20 18.

13. SA Leonard advised that after receiving this information, he had an ATF
Intelligence Research Specialist (IRS) query all FFL robberies in North Carolina
during that time period. The only robbery that fit the description provided by Tyler
was the robbery of Quick Cash Pawn in Greensboro, NC on November 5, 2018. It
should also be noted that a total of twenty-three (23) firearms were stolen during this
robbery, and that the employees were forced to lie down on the ground as the suspects
exited the business.

14. SA Leonard indicated that after receiving this information from Tyler,
he recalled a text message that was sent to him by a confidential and reliable
informant (CI) in early November about a shipment of guns that had just arrived in
Washington, DC. SA Leonard advised that the text message contained a picture of
multiple firearms lying on a bed with tags still on them.

15. SA Leonard was able to locate the picture message, which he forwarded

to me. I reviewed the photograph and observed that there were approximately

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seventeen (17) handguns, two (2) pistol grip shotguns, and one (1) AK type pistol that
were visible. I noted that the price tags were still on all of these firearms, as well as
gun locks. By observation and review of these tags, as well as the physical
characteristics of the weapons, I was able to identify the make and model of many of
these firearms. I was then able to compare these make and model numbers to the
list of firearms stolen from Quick Cash Pawn. I discovered that all of the firearms
that I was able to positively identify were reported stolen during the robbery of Quick
Cash Pawn on November 5, 2018.

16. | also observed that the text message was sent on November 6, 2018 at
12:17 p.m. The caption with the message read, “My man out da city said shipment
jus touch down.” It should be noted that this message was received by SA Leonard
on the day after the robbery occurred in Greensboro, NC.

17. After receiving this information from SA Leonard, I queried Instagram
and located accounts for “ray_dawgg” and “dbwanoo_”. The page for “ray_dawgg”
was public and I was able to view several photographs on this page. The page for

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“dbwanoo

’ was listed as private. I was only able to view the profile picture, which
was a close up photograph of the account owner.

18. While reviewing the account for “ray_dawgg’, I was able to locate
multiple photographs of the individuals believed to be Ray and Wan. Some of these
pictures depicted Ray and Wan together with large sums of currency. These

photographs were time stamped in November and December 2018.

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19. I compared the photographs of Ray and Wan on Instagram to the
surveillance video of the robbery at Quick Cash Pawn. I noted that the physical
characteristics of Ray and Wan were very similar to the physical characteristics of
the suspects; however, due to the poor resolution of the surveillance footage and the
positioning of the surveillance cameras, I was unable to obtain any quality facial
profiles of the suspects.

20. Later on March 20, 2019, I was contacted by SA Leonard regarding the
true identities of Ray and Wan. SA Leonard advised that he had utilized several law
enforcement databases to locate their true identities. SA Leonard advised that Ray’s
real name was RAQUAN JOHN ZIMMERMAN (DOB 03/04/ 1996; FBI# D0064J06D)
and Wan’s real name was DAWAN RASHAWN SALTERS (DOB 11/25/1999; FBI#
7CCFDHPA8). SA Leonard had compared mugshot photographs of both individuals
to their respective Instagram accounts in order to make this positive identification.

21. SA Leonard also provided me with mugshot photographs of
RAQUAN ZIMMERMAN and DAWAN SALTERS. I was able to compare the
photographs to images posted under both Instagram accounts. I confirmed that
RAQUAN ZIMMERMAN is the person portrayed as the owner of the Instagram
account: “ray_dawgg”. I also confirmed that DAWAN SALTERS is the person
portrayed as the owner of Instagram account: “dbwanoo_”. I have also learned

that SALTERS has a second Instagram account under the name “ dbwanoo”.

This account is listed as public; however, I only observed one photograph of

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SALTERS on the timeline. I have determined that SALTERS appears to be the
owner of this account as well.

22. On March 21, 2018, I responded to Quick Cash Pawn and made contact
with assistant manager, Kyle Lutterloh. Lutterloh was one of the victims of the
robbery on November 5, 2018. I showed Lutterloh the photograph of the firearms
that SA Leonard received from the CI. Lutterloh looked at the photograph and
determined that they depicted the firearms stolen from the pawn shop on November
5, 2018. Lutterloh specifically recognized several of the firearms in the photograph,
including the two (2) pistol grip shotguns and a performance model Smith & Wesson
revolver. Lutterloh also identified the price tags on the weapons as belonging to
Quick Cash Pawn. While at the business, I compared the price tags in the photograph
to price tags on firearms that were currently on display in the store. I observed that
they appeared to be identical.

23. After returning to my office on March 21, 2019, I began to gather
intelligence on ZIMMERMAN and SALTERS. I learned that ZIMMERMAN is on
pre-trial release in Maryland for a robbery offense. The address that ZIMMERMAN
reported to his supervising officer is 1404 Early Oaks Ln., Capital Heights, MD,
which is just outside of Washington, DC. I conducted a driver’s license query and
determined that ZIMMERMAN has an active driver's license in Washington, DC. It
should be noted that during the robbery of Quick Cash Pawn, one of the suspects

displayed a Washington, DC identification card while asking to see a firearm. The

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employees were unable to recall the name on the identification card, only that it was
issued in Washington, DC.

24. On March 27, 2019, I presented an application for a search and seizure
warrant to United States Magistrate Judge, Joe L. Webster, related to Instagram
accounts: ray_dawgg, dbwanoo_, and _dbwanoo. Judge Webster found that
probable cause had been established for the issuance of this search warrant. I
returned to my office on this same day and served Facebook with the signed search
warrant.

25. On April 9, 2019, I received records from Facebook related to the
aforementioned Instagram accounts. | began to review these records on April 10,
2019. I began by reviewing the records for Instagram accounts: dbwanoo and
dbwanoo_, which I had previously identified as belonging to DAWAN SALTERS. I
observed that SALTERS had registered these accounts with Instagram on December
13, 2018 and December 29, 2018, respectively. It appeared to me that dbwanoo_
was the primary account used by SALTERS. In reviewing these records, I observed
multiple pictures, as well as references to RAQUAN ZIMMERMAN. It should be
noted that both of SALTERS’ Instagram accounts were created over one month after
the robbery occurred at Quick Cash Pawn in Greensboro, NC. As such, I was not able
to locate any communications, posts, or references to the robbery of Quick Cash Pawn.

26. Next, I began to review the records for Instagram account: ray_dawgg,
which I had previously identified as belonging to RAQUAN ZIMMERMAN. I

observed that ZIMMERMAN had registered this account with Instagram on October

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20, 2012. I began by reviewing photographs posted by ZIMMERMAN, many of hich
depicted he and SALTERS together with large sums of currency. I had previously
observed many of the pictures while reviewing ZIMMERMAN’s public Instagram
page.

27. I then began to review many of the “direct shares”, or communications,
between ZIMMERMAN and other Instagram users. I located a message sent by
ZIMMERMAN on November 4, 2018 in which he informs another Instagram user
that he is going to “North Carolina A&T”. Later that same day, ZIMMERMAN
informs another Instagram user that he is at “homecoming”. ZIMMERMAN informs
a third Instagram user later that same day that he is in “North Carolina”. It should
be noted that the robbery of Quick Cash Pawn occurred the following day, November
5, 2018.

28. North Carolina A&T is a university located in Greensboro, NC. Every
year, North Carolina A&T holds an annual homecoming celebration which usually
includes a football game, parade, concerts, and other festivities. Generally, the
homecoming event is a week-long celebration which culminates with the weekend
football game. This event generally draws several thousand people to the city of
Greensboro and surrounding areas.

29. The 2018 North Carolina A&T homecoming football game and
associated festivities were held during the weekend of November 3, 2018 through
November 4, 2018. This corroborates the statements made by ZIMMERMAN on

Instagram about being at North Carolina A&T for homecoming on November 4, 2018.

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30. In reviewing ZIMMERMAN’s Instagram page, I searched for other
references which would indicate that ZIMMERMAN may have visited North Carolina
on unrelated occasions. Facebook had provided me with records pertaining to
ZIMMERMAN ’s Instagram account beginning January 27, 2018 through March 27,
2019. Specifically, I utilized a search tool to query the Instagram records for the
words “Carolina” and “Greensboro”. I was unable to locate any other post or
communication which would indicate that ZIMMERMAN had visited North Carolina
at any other time during the period for which I had records.

31. During my review of ZIMMERMAN’s Instagram records, I observed
multiple occasions throughout 2018 where he provided the number (202) 981-0442 to
other Instagram users. The first time that I observed ZIMMERMAN inform another
user that this was his number was during May 2018. The last time that I observed
ZIMMERMAN inform another user that this was his number was on November 7 ;
2018, two days after the robbery occurred at Quick Cash Pawn. Shortly thereafter,
ZIMMERMAN begins informing Instagram users that he has obtained a new
number.

32. Separate from my review of ZIMMERMAN’s Instagram records, I had
previously identified (202) 981-0442 as a possible number for ZIMMERMAN. On
March 22, 2019, I was informed by ATF SA Tyler Mensing, who is assigned to the
Washington II Field Office, that (202) 981-0442 was a possible number for
ZIMMERMAN. SA Mensing stated that he is currently investigating

ZIMMERMAN ’s relative, Juan Zimmerman, for firearms trafficking. During this

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investigation, SA Mensing identified (202) 981-0442 as a possible number for
RAQUAN ZIMMERMAN.

33. After receiving this information, I was able to determine that (202) 981-
0442 is a mobile number carried by Metro PCS, also known as simply “Metro”. Metro
PCS is a prepaid wireless carrier brand which is owned and operated by T-Mobile.
On March 26, 2019, I submitted a request to T-Mobile for the preservation of records
related to mobile number (202) 981-0442.

34. Based upon my review of ZIMMERMAN’s Instagram records, and in
conjunction with the information received from SA Mensing, I believe that (202) 981-
0442 is the mobile number that was utilized by ZIMMERMAN for several months
during 2018. Specifically, I believe that (202) 981-0442 is the mobile number that
was utilized by ZIMMERMAN on November 5, 2018, which is the date that the
robbery occurred at Quick Cash Pawn in Greensboro, NC.

HISTORICAL CELLULAR TELPHONE RECORDS

35. I know from my training and experience that when a person makes or
receives a call using a cellular telephone their mobile device will be connected to
cellular telephone sites and other wireless networks. I also know that cellular
telephones generally connect to the cellular telephone tower associated with the
strongest signal from the appropriate network provider. I know that cellular
telephone providers can often provide detailed records of all in-coming and out-going
calls, text messages, voice mail messages, estimated geo-location information and

other data that are processed through a specific cell site for a given date and time.

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36. I know that locating a particular mobile user's device may result in the
discovery of additional evidence that may be stored on the mobile device. Live and
deleted data recovered from mobile devices may show evidence of current, on-going,
future, and past criminal activity. Such information can be used to identify victims,
witnesses, associates and co-conspirators. I also know that data from these devices
can often include user attribution data that can identify the person(s) who sent,
received, created, viewed, modified, or otherwise had control over particular content.

37. I also know from my training and experience that Mobile Network
Operators (“MNOs”), such as T-Mobile, commonly collect and store historical
precision location information that may provide historical geographic location of a
user’s mobile device. This data may provide the approximate location of the user's
mobile device. Based on my training and experience, I know that T-Mobile collects
precision location data, which T-Mobile also refers to as “Time Difference of Arrival”
(TDOA) or Timing Advance Information. This information can be used to estimate
an approximate location range that is more precise than typical cell-site data.

38. Additionally, I know from my training and experience that cellular
telephone providers maintain account records on users and particular devices
connected to their networks. I also know that when cellular telephone calls are
completed, the cellular telephone companies record and retain certain information
including in-coming and out-going numbers, the time and duration of calls, voice
mail, browsing data, text messages (“SMS’/"MMS’), Internet Protocol (“TP”)

connection logs, and the towers and sectors that handled the calls. I know from my

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training and experience that the numbers obtained from these records can be used to
obtain the subscriber information for a particular cellular telephone provider in an
effort to identify a potential suspect (or suspects). These records can be further
analyzed to determine specific activity during a particular time frame and geographic
area.

39. I also know that cellular telephone records, commonly referred to as Call
Detail Records (“CDRs”) and other records such as TDOA and Timing Advance
Information, may support evidence of current, on-going, future, and past criminal
activity. I know that such information can be used to identify victims, witnesses,
associates and co-conspirators. I also know that data from these devices can often
include Cell Site Location Information (“CSLI”) that may provide network, cell tower,
and/or antenna data that serviced a particular mobile device as well as precision
location information that may provide an estimate of a user’s mobile device location.
I also know from my training and experience that this information is available
through particular cellular telephone providers and that these providers operate as
public utility companies. I also know that by obtaining CSLI on the dates before and
after an event can tend to prove that the user had possession of the mobile device
during the relevant time period.

40. I also know that by obtaining CSLI on the dates before and after an
event can tend to prove that the user had possession of the mobile device during the
relevant time period. Additionally, I have found that by obtaining CSLI for several

weeks before and after the crime under investigation, I am able to establish a “pattern

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of life” for the person whom I am investigating. This often leads to the discovery of
evidence that can either be incriminating or exculpatory. Based upon my training
and experience, it is important to determine whether or not the suspect's mobile
device was utilized near the scene of the crime during the time it occurred, but it is
just as important determine how often the suspect frequents that area.

41. I also know that it is necessary to obtain subscriber information to
properly identify individuals who may be associated with telephone numbers
revealed from the received Call Detail Records.

AUTHORIZATION REQUEST

42.. Based on the foregoing, I request that the Court issue the proposed
search warrant, pursuant to 18 U.S.C. §§ 2703(b)(1)(A) and 2703(c)(1)(A) as well as
Federal Rule of Criminal Procedure 41. Based on the facts set forth in this affidavit, -
there is probable cause to believe that violations of 18 U.S.C. § 1951 (Hobbs Act) and
Title 18 U.S.C. § 924(m) (Theft of Firearms from a Licensed Dealer) have been
committed. There is also probable cause to search the records described in
Attachment A for evidence of this crime, as further described in Attachment B.

43. I further request that the Court direct T-Mobile to disclose to the
government any information described in Section I of Attachment B that is within
their possession, custody, or control. Because the warrant will be served on T-Mobile,
who will then compile the requested records at a time convenient to it, reasonable

cause exists to permit the execution of the requested warrant at any time in the day

or night.

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This affidavit has been reviewed by Assistant United States Attorney Nicole

DuPré.

Respectfully submitted,

Msn 2

Michael B. Newsome

Special Agent

Bureau of Alcohol, Tobacco, Firearms
and Explosives

Sworn and subscribed before me this UL day of April 2019.

THE HONORABLE L. PATRICK AULD

UNITED STATES MAGISTRATE JUDGE
MIDDLE DISTRICT OF NORTH CAROLINA

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